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                          EXHIBIT 3




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       DEC O6 2021                                                                         ssa Cook, Deputy

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  EDWARD ROBINSON                                 §       IN THE DISTRICT COURT OF
                                                  §
  v.                                              §       BRAZORIA COUNTY, TEXAS
                                                  §
  WILMINGTON SA VIN GS FUND     §   tl \ 1111
  SOCIETY, FSB                  §   ~ JUDICIAL DISTRICT
                     TEMPORARY RESTRAINING ORDER

           ON THIS DA TE Plaintiff's Application for Temporary Restraining Order was heard and

  considered before this Court. Based upon the pleadings, exhibits, records, and documents filed by

  Plaintiff and presented to the Court, as well as the arguments of legal counsel at the hearing, IT

  CLEARLY APPEARS THAT:

          A.         Unless Wilmington Savings Fund Society, FSB, its agents, employees, directors,

  shareholders, and legal counsel are immediately enjoined and restrained, Wilmington Savings

  Fund Society, FSB will proceed with a foreclosure sale of Plaintiff's property commonly known

  as 2410 Centerbrook Court, Pearland, TX 77584 and Plaintiff will suffer an immediate and

  irreparable harm and will have no adequate remedies under the law, and may commit the

  foregoing before notice and hearing on Plaintiff's Application for Temporary Injunction.

           B.        Plaintiff will suffer an irreparable harm if Wilmington Savings Fund Society, FSB,

  its agents, employees, directors, shareholders, and legal counsel are not restrained immediately

  because Plaintiff will lose his fee simple title and ownership of his Property, which is Plaintiff's

  residence and homestead and is thus unique and irreplaceable, and there is no adequate remedy at

  law to grant Plaintiff complete, final, and equitable relief.

           C.        Plaintiff has provided notice to Wilmington Savings Fund Society, FSB informing

  them of the filing of Plaintiff's Application for Temporary Restraining Order prior to this Court

  conducting this hearing.
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       IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Wilmington

Savings Fund Society, FSB, its agents, employees, directors, shareholders, and legal counsel are

hereby ORDERED to immediately cease and desist from attempting or proceeding with any

foreclosure sale of Plaintiff's property commonly known as 2410 Centerbrook Court, Pearland,

TX 77584 as well as from taking any legal action to evict Plaintiff and any other occupants from,

or enforcing a writ of possession regarding, the aforementioned property. Wilmington Savings

Fund Society, FSB, its agents, employees, directors, shareholders, and legal counsel are hereby

immediately enjoined and restrained from the date of entry of this Order until fourteen (14) days

hereafter, or until further ordered by this Court.

       IT IS FURTHER THEREFORE ORDERED, ADJUDGED, AND DECREED that

Plaintiff's Application for Temporary Injunction be heard on the _l1ctay of December, 2021

starting a t ~ a.m./]Mlt. and that Wilmington Savings Fund Society, FSB is commanded to

appear at that time and show cause, if any, why a temporary injunction should not be issued

against Wilmington Savings Fund Society, FSB.

        The Clerk of the above-entitled court shall issue a notice of entry of a temporary

restraining order in conformity with the law and the terms of this Order, to include a copy of this

Order, upon the filing by Plaintiff of the bond hereinafter set.



Clerk a bond in the amount of$ \ Q \I•     -~
       This Order shall not be effective until Plaintiff deposits with the Brazoria County District

                                                     in due conformity with applicable law.



       SIGNED and ENTERED this the----'°--day of December, 2021, at            \:'t,a.111.!p.m.
